                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

 In re:                                           )
                                                  )   Case No. 17-04113
 SOUTHEASTERN PLATEWORKS, LLC,                    )
                                                  )   Chapter 11
                       Debtor.                    )


                     MOTION FOR EXPEDITED RELIEF FROM STAY

          IberiaBank (“Lender”), a secured creditor and party-in-interest in the above-styled

 bankruptcy case (the “Bankruptcy Case”) of Southeastern Plateworks, LLC (the “Debtor”),

 moves the Court for interim and final relief from the automatic stay pursuant to 11 U.S.C. § 362.

 In support of this motion (the “Motion”), Lender relies on the filings of record in the Bankruptcy

 Case and shows the Court as follows:

                            SUMMARY OF RELIEF REQUESTED

          1.    Since the petition date, Lender has engaged in good faith negotiations with the

 Debtor regarding the Debtor’s secured debt in an effort to enable the Debtor’s successful

 reorganization.   Lender has provided the Debtor consensual use of cash collateral through

 December 31, 2017. However, the Debtor and Lender have not reached an agreement for the

 ongoing use of cash collateral after December 31, 2017. Lender is advised and believes that the

 Debtor intends to convert the Bankruptcy Case to a chapter 7 liquidation.

          2.    Accordingly, Lender seeks relief from the automatic stay to enforce all rights and

 pursue all remedies with respect to its collateral. Pending a final hearing, Lender requests an

 interim order under section 362(f), authorizing Lender to secure and control any real and

 personal property collateral to ensure it is not stolen or destroyed pending a final order granting

 relief from the automatic stay. The Court may grant such limited relief without notice or a


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 hearing, and it is necessary and appropriate under the circumstances. The Debtor, through

 counsel, has represented that it does not object to immediate relief from the automatic stay for

 the limited purposes set forth in the proposed order attached hereto as Exhibit A.

                                JURISDICTION AND NOTICE

          3.    Lender files this Motion pursuant to Section 362 of title 11 of the United States

 Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”), Rules 4001 and 9014 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rule 4001-1.

          4.    The Court has jurisdiction over the Motion pursuant to 28 U.S.C. § 1334(b). The

 Motion is a core proceeding pursuant to 28 U.S.C. § 157(b) and a contested matter under

 Bankruptcy Rule 9014.

          5.    Pursuant to Bankruptcy Rules 4001 and 9014 and Local Rule 4001-1, Lender

 shall serve a copy of the Motion on the Debtor, the Debtor’s counsel, the Bankruptcy

 Administrator, and counsel for the unsecured creditors’ committee.

          6.    Venue of this matter is proper in this Court pursuant to 28 U.S.C. §§ 1408

 and 1409.

                                         BACKGROUND

          7.    On September 25, 2017 (the “Petition Date”), the Debtor filed a voluntary petition

 under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Northern

 District of Alabama.

          8.    An official committee of unsecured creditors (the “Committee”) has been

 appointed in the Bankruptcy Case. See Docket No. 40.

          9.    Lender and the Committee agreed to the Debtor’s use of cash collateral pursuant

 to the Amended Stipulated Final Order Authorizing Debtor’s Limited Use of Cash Collateral,




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 Granting Adequate Protection, and Granting Related Relief [Docket No. 83] (the “Cash

 Collateral Order”).    Unless otherwise defined, all capitalized terms herein shall have the

 meanings provided in the Cash Collateral Order.

          10.   Among     other   things,    the   Cash   Collateral    Order    includes    certain

 acknowledgements regarding the Debtor’s loan obligations and Lender’s collateral, including:

                a. As of the Petition Date, the Debtor is indebted to Lender under the Loan

                   Documents in the aggregate principal amount of at least $4,644,963.25 plus

                   accrued and accruing interest, fees, expenses, attorneys’ fees and costs, and

                   other amounts owing under the terms of the Loan Documents. Collectively,

                   all of the Debtor’s obligations under the Loan Documents are referred to as

                   the “Loan Obligations”.

                b. As security for timely payment and performance of the Loan Obligations,

                   Lender was granted and has valid and perfected first priority liens on and

                   security interests in, among other things, substantially all of the real and

                   personal property of the Debtor as provided in the Loan Documents

                   (collectively, the “Lender Collateral”).     The Lender Collateral includes,

                   without limitation, contract rights, accounts, notes, bills, acceptances, chattel

                   paper, instruments, proceeds, tax refunds, money on deposit, inventory, goods,

                   wares, equipment, parts, merchandise, supplies, materials, intangible rights,

                   general intangibles, and all proceeds therefrom. The Lender Collateral further

                   includes the real property described in that certain Mortgage, Assignment of

                   Rents and Leases, and Security Agreement dated as of June 25, 2013 and

                   recorded with the Judge of Probate of Jefferson County, Alabama at Bk:




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                    LR201315, Pg: 14501.

                c. Pursuant to the Loan Documents: (a) the Loan Obligations owing to Lender

                    by the Debtor are due and owing, are legal, binding, and enforceable

                    obligations of the Debtor, and are not subject to any offset, defense, claim,

                    counterclaim, setoff, recoupment, or any other diminution of any type, kind,

                    or nature whatsoever; (b) the Loan Documents are legal, valid, binding and

                    enforceable against the Debtor in accordance with their respective terms; and

                    (c) the liens and security interests granted to Lender in, to, and against all of

                    the Lender Collateral are valid, continuing, first priority liens enforceable, and

                    properly perfected, and are not subject to avoidance under applicable state or

                    federal law.

                d. The Lender Collateral includes cash proceeds and other cash equivalents; and

                    all cash and cash equivalent proceeds of the Lender Collateral constitute cash

                    collateral within the meaning of 11 U.S.C. § 363(a) (the “Cash Collateral”).

                    The Cash Collateral secures repayment of the Loan Obligations owing from

                    the Debtor to Lender.

 Cash Collateral Order ¶ E.

          11.   Lender was also granted replacement liens in all of the Debtor’s postpetition

 assets of the same type and to the same extent as provided in the Loan Documents. Cash

 Collateral Order ¶ 7. Thus, all of the Debtor’s assets are encumbered by the Lender’s security

 interests.

          12.   The Cash Collateral Order also provides a deadline for any party, including the

 Committee, to object to, challenge, or seek to avoid the amount, validity, or enforceability of the




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 Loan Obligations (or any portion thereof) or any of Lender’s liens and security interests in the

 collateral securing the Loan Obligations. Cash Collateral Order ¶ 14.

          13.    The deadline for a Challenge has passed without a motion or adversary

 proceeding against Lender. Accordingly, the Loan Obligations are deemed and adjudicated

 finally and indefeasibly as valid and enforceable, Lender’s liens and security interests in the

 collateral securing the Loan Obligations are deemed and adjudicated finally and indefeasibly as

 valid, enforceable and perfected liens and security interests in that collateral, and any affirmative

 claim(s) or cause(s) of action of any kind against Lender with respect to the Loan Documents,

 the Loan Obligations, or the liens and security interests securing the Loan Obligations, are

 forever barred. Cash Collateral Order ¶ 14.

          14.    The Debtor’s authorization to use Cash Collateral terminated on December 31,

 2017. Cash Collateral Order ¶ 2.

          15.    Lender is informed and believes that the Debtor has ceased all ongoing operations

 and will convert the Bankruptcy Case to a chapter 7 liquidation.

                                           AUTHORITY

 I.       Lender is entitled to interim ex parte relief from stay pursuant to section 362(f) of
          the Bankruptcy Code.

          16.    Section 362(f) of the Bankruptcy Code authorizes ex parte relief from the

 automatic stay where the requesting party will suffer damage before there is an opportunity for

 notice and a hearing under section 362(d) or (e). See 11 U.S.C. § 362(f); Fed. R. Bankr. P.

 4001(a)(2). In such event, the court shall grant relief from the stay as is necessary to prevent

 irreparable damage to the requesting party’s property interest. See 2 Norton Bankr. L. & Prac.

 3d § 43:53 (2017).




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          17.    Lender is informed and believes that the Debtor has ceased all ongoing operations

 and will soon convert the Bankruptcy Case to a chapter 7 liquidation. Without the use of cash

 collateral the Debtor cannot pay personnel to monitor the Lender Collateral pending a final

 hearing and relief from the automatic stay. In particular, Lender is concerned that real and

 personal property located at the Debtor’s operating facilities may be damaged or stolen without

 adequate security monitoring the facilities.

          18.    Accordingly, Lender requests limited authority to secure and protect the Lender

 Collateral pending a final hearing and order on the stay relief requested in this Motion. Lender

 has discussed this request with the Debtor’s counsel and is advised that the Debtor does not

 object to the limited relief provided in the proposed interim order attached hereto as Exhibit A.

 II.      Lender is entitled to relief from the automatic stay pursuant to Section 363(d)(1) of
          the Bankruptcy Code.

          19.    Section 362(d)(1) of the Bankruptcy Code provides that a bankruptcy court shall

 grant relief from the automatic stay for cause, including lack of adequate protection of an interest

 in property. 11 U.S.C. § 362(d)(1).

          20.    As further set forth below, the Debtor does not have equity in the Lender

 Collateral. As of January 1, 2018 the Debtor no longer has the use of Cash Collateral and Lender

 is informed the Debtor will convert the Bankruptcy Case to a liquidation under chapter 7. As a

 result, the Debtor will no longer be able to make adequate protection payments as agreed in the

 Cash Collateral Order. The Debtor will not have any other means of providing the Lender

 adequate protection of its interests in the Lender Collateral.

          21.    Upon conversion, the chapter 7 estate will not have any unencumbered assets.

 Thus, the chapter 7 trustee will not have any means to provide Lender adequate protection of its

 interest in the Lender Collateral. See 11 U.S.C. § 361 (providing forms of adequate protection).



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          22.    Finally, as discussed above, as a result of the Debtor ceasing business operations

 and no longer having the use of cash collateral, the Debtor cannot guarantee that the Lender

 Collateral will be protected from theft or destruction. Lender is entitled to relief from the

 automatic stay to take possession and control of the Lender Collateral, foreclose or liquidate the

 Lender Collateral, and take any other actions necessary to protect Lender’s interests.

          23.    Accordingly, there is cause for relief from the automatic stay pursuant to section

 362(d)(1).

 III.     Lender is entitled to relief from the automatic stay pursuant to section 362(d)(2) of
          the Bankruptcy Code.

          24.    In the alternative, Lender is entitled to relief under section 362(d)(2) of the

 Bankruptcy Code, which provides that the court shall grant relief from the automatic stay with

 respect to property if a debtor does not have equity in such property and such property is not

 necessary to an effective reorganization.

          25.    As an initial matter, Lender is informed that the Debtor is converting to a chapter

 7 liquidation and therefore no reorganization is contemplated. See, e.g., In re Gardner, 417 B.R.

 616, 623 (Bankr. D. Idaho 2009) (“since this is a liquidation case, the [property] is not necessary

 for any reorganization”).

          26.    Furthermore, the Lender’s appraisals of the real property securing the Loan

 Obligations reflect that the Debtor has no equity in such real property. The Debtors’ two

 facilities have appraised values of approximately $2,000,000 each for a total of approximately

 $4,000,000. Lender’s secured claim as of the Petition Date was in the principal amount of

 $4,644,963.25, plus accrued and accruing interest, attorneys’ fees, costs, and expenses. As of the

 filing of this Motion, the Debtor owes Lender $4,705,845.36, exclusive of attorneys’ fees and

 costs for the month of December 2017. Interest, attorneys’ fees, and expenses continue to accrue



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 on the Loan Obligations. The per diem interest on the Loan Obligations is approximately

 $500.00.

          27.   The Debtor’s real property is not the only Lender Collateral. However, any

 accounts receivable must necessarily be discounted and, together with the liquidation value of

 the Debtor’s other personal property, the Lender Collateral is not guaranteed to satisfy the Loan

 Obligations.

          28.   Accordingly, on information and belief, the liquidation value of all Lender

 Collateral is less than the Loan Obligations and the Debtor does not have any equity in the

 Lender Collateral.    Lender reserves all rights, claims, and defenses with respect to the

 outstanding amount of the Loan Obligations and valuation of any Lender Collateral.

          29.   Based on the foregoing, Lender is entitled to relief from the automatic stay

 pursuant to section 362(d)(2).

                                  RESERVATION OF RIGHTS

          30.   Lender reserves all rights, claims, and defenses with respect to the Lender

 Collateral and the relief requested in this Motion. Without limitation, Lender reserves the right

 to present any evidence necessary to support the requested relief and with respect to the amount

 of the Loan Obligations and the value of any Lender Collateral.

          WHEREFORE, PREMISES CONSIDERED, Lender respectfully requests that the

 Court enter: (i) an interim order, in substantially the form attached hereto as Exhibit A, pursuant

 to section 362(f) authorizing Lender to secure and protect the Lender Collateral pending a final

 hearing on this Motion; and (ii) a final order terminating the automatic stay with respect to the

 Lender Collateral to permit Lender to enforce all rights and pursue all remedies with respect to

 the Lender Collateral, including, without limitation, non-judicial foreclosure of all real and




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 personal property and collection of all accounts receivable.1 Lender also requests such other and

 further relief as may be just and proper.

          Respectfully submitted this the 2nd day of January, 2018.


                                                                          /s/ James B. Bailey
                                                                                  Counsel for
                                                                                 IBERIABANK


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 1
   Lender is under no obligation to foreclose all or any portion of the Mortgaged Property. See Triple J Cattle, Inc. v.
 Chambers, 551 So.2d 280, 282 (Ala. 1989) (“Upon a default by the mortgagor, the mortgagee has three remedies,
 and he may pursue any one or all of them until the debt is satisfied. He may sue for the debt, sue for the property,
 and he may foreclose the mortgage; unless special circumstances exist, the trial court may not enjoin him from
 pursuing these remedies concurrently. He is not required to foreclose the mortgage first, but may bring his action on
 the note alone.”). Upon termination of the stay, Lender reserves the right to elect not to foreclose all or any portion
 of the Lender Collateral.


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                                        CERTIFICATE OF SERVICE

          I hereby certify that on January 2, 2018, I electronically filed the foregoing with the Clerk

 of the Court using the CM/ECF system which will send notification of such filing to the

 following:

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                                                                         OF COUNSEL




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                                 EXHIBIT A
                              PROPOSED ORDER




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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF ALABAMA
                                        SOUTHERN DIVISION

 In re:                                                       )
                                                              )    Case No. 17-04113
 SOUTHEASTERN PLATEWORKS, LLC,                                )
                                                              )    Chapter 11
                              Debtor.                         )


                       ORDER GRANTING EXPEDITED RELIEF FROM STAY

            Upon consideration of the motion (the “Motion”)1 of IberiaBank (“Lender”) for entry of

 an order, pursuant to section 362(f) of title 11 of the U.S. Code (the “Bankruptcy Code”) and rule

 4001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), granting relief

 from the automatic stay of section 362 of the Bankruptcy Code; and it appearing that this Court

 has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing

 that venue of this case and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and

 1409; and it appearing that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and it

 appearing that adequate and proper notice of the Motion has been given and that no other or

 further notice need be given; and upon the record of all of the proceedings had before the Court;

 and the Court having found and determined that the relief sought in the Motion is necessary to

 prevent irreparable damage to Lender’s interest in property; and the Court being advised that the

 Debtor has no objection to the relief granted in this Order; and the legal and factual bases set

 forth in the Motion having established just cause for the relief granted herein; and after due

 deliberation and sufficient cause appearing therefor; it is hereby ORDERED that:

            1.       The Motion is GRANTED to the extent provided herein.



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     Unless otherwise defined, all capitalized terms shall have the meanings set forth in the Motion.


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          2.    Lender is granted relief from the automatic stay pursuant to section 362(f) to the

 extent necessary for the Lender to secure and protect all Lender Collateral, including without

 limitation, any cash collateral and all real and personal property described in that certain

 Mortgage, Assignment of Rents and Leases, and Security Agreement dated as of June 25, 2013

 and recorded with the Judge of Probate of Jefferson County, Alabama at Bk: LR201315, Pg:

 14501, commonly known as 4466 Pinson Valley Parkway, Birmingham, Alabama 35215 and

 302 Fleming Road, Birmingham, Alabama 35217.

          3.    Lender shall not take any action to foreclose, liquidate, or dispose of the Lender

 Collateral pending a final hearing and order granting relief from the automatic stay.

          4.    The Court shall hold a hearing on the relief requested in the Motion on January

 10, 2018 at 9:30 a.m. in Courtroom 1, 1800 Fifth Avenue North, Birmingham, Alabama 35203.

          5.    This Order is enforceable immediately upon entry and any stay pursuant to

 Bankruptcy Rule 4001, or any other applicable law, is hereby waived.



 Dated: _______________


                                              D. SIMS CRAWFORD
                                              UNITED STATES BANKRUPTCY JUDGE




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